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                           EXHIBIT 59




                                                                 Appx. 01073
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                                                                                                                                          Claim #188 Date Filed: 5/26/2020

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                                 04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  James D. Dondero
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               James D. Dondero                                                                James D. Dondero
   creditor be sent?                                                                                             300 Crescent Court, Ste. 700
                                 c/o D. Michael Lynn
                                 Name                                                                             Name
                                 420  Throckmorton St., Suite 1000                                               Dallas, TX 75201
    Federal Rule of              Fort Worth, TX 76102
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                  State                  ZIP Code

                                 Contact phone       8174056900                                                  Contact phone

                                 Contact email       michael.lynn@bondsellis.com                                 Contact email


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                           Filed on
                                                                                                                                                         MM     /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                             page 1

                                                                                                                                                               Appx. 01074
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See attached Exhibit "A"                   . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See attached Exhibit "A"


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 01075
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                 ✔       I am the creditor.
FRBP 9011(b).
                                          I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             05/26/2020
3571.                                                               MM / DD / YYYY




                                   /s/James D. Dondero
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       James D. Dondero
                                                             First name                             Middle name                            Last name

                                  Title

                                  Company
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City
                                                                                                                 ¨1¤}HV4%:         State

                                                                                                                                   Email
                                                                                                                   1934054200526000000000017
                                                                                                                                                     ZIP Code




                                                                                                                 1s«
 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 01076
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                                          KCC ePOC Electronic Claim Filing Summary
                                     For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
              19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                        Has Supporting Documentation:
               James D. Dondero                                               Yes, supporting documentation successfully uploaded
                c/o D. Michael Lynn                                     Related Document Statement:
                420 Throckmorton St., Suite 1000
                                                                        Has Related Claim:
                Fort Worth, TX, 76102                                          No
                                                                        Related Claim Filed By:
                Phone:
                8174056900                                              Filing Party:
                Phone 2:
                                                                               Creditor
                Fax:
                Email:
                michael.lynn@bondsellis.com
       Disbursement/Notice Parties:
              James D. Dondero
                300 Crescent Court, Ste. 700

                Dallas, TX, 75201
                Phone:
                Phone 2:
                Fax:
                E-mail:
                DISBURSEMENT ADDRESS
       Other Names Used with Debtor:                                    Amends Claim:
                                                                               No
                                                                        Acquired Claim:
                                                                               No
       Basis of Claim:                                                  Last 4 Digits:        Uniform Claim Identifier:
              See attached Exhibit "A"                                         No
       Total Amount of Claim:                                           Includes Interest or Charges:
              See attached Exhibit "A"                                         No
       Has Priority Claim:                                              Priority Under:
              No
       Has Secured Claim:                                               Nature of Secured Amount:
            No                                                          Value of Property:
       Amount of 503(b)(9):                                             Annual Interest Rate:
            No
                                                                        Arrearage Amount:
       Based on Lease:
              No                                                        Basis for Perfection:
       Subject to Right of Setoff:                                      Amount Unsecured:
              No
       Submitted By:
             James D. Dondero on 26-May-2020 5:17:16 p.m. Eastern Time
       Title:

       Company:




VN: 20BE04C65B3A01C11B30E84BA5AFF790
                                                                                                                Appx. 01077
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                                                Exhibit A

         This claim is a contingent claim asserted by James Dondero and is subject to any effort to collect
on certain notes (the “Notes”) identified on Schedule “A” hereto. In the event that collection efforts are
made to collect the Notes, James Dondero asserts that the Notes were issued by him for funds advanced in
lieu of compensation.


                                   Schedule A (as of March 31, 2020)
 Entity                                            Amount                   Note
 NexPoint Advisors                                 $23,034,644.034          30 yr Amort (issued 2017)
 Dugaboy                                           $18,286,268.159          30 yr Amort (issued 2017)
 Highland Capital Management Fund Advisors         $10,458,219.887          Demand
 James Dondero                                     $8,834,769.71            Demand
 Highland Capital Management Services              $6,572,061               30 yr Amort (issued 2017)
 HCRE                                              $5,671,419               30 yr Amort (issued 2017)
 HCRE                                              $4,521,267               Demand
 Highland Capital Management Services              $927,177                 Demand




                                                                                            Appx. 01078
